Entered: October 28, 2011   Case 10-21521     Doc 166      Filed 10/28/11     Page 1 of 2
Signed: October 27, 2011

SO ORDERED




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF MARYLAND
                                            (Baltimore Division)

             In re:                                           )       Chapter 11
                                                              )
                      Dale H. Thompson                        )       Case No. 10-21521 (RAG)
                                                              )
                      Debtor.                                 )
                                                              )

                 ORDER GRANTING SECOND INTERIM AND FINAL APPLICATION
                 OF WHITEFORD, TAYLOR & PRESTON, LLP, AS COUNSEL TO THE
               DEBTOR, FOR INTERIM AND FINAL ALLOWANCE OF COMPENSATION
                 FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
                 INCURRED FOR THE PERIOD NOVEMBER 1, 2010 THROUGH AND
                   INCLUDING JUNE 16, 2011, AND FOR FINAL ALLOWANCE OF
                        PREVIOUSLY REQUESTED FEES AND EXPENSES
                    Upon consideration of the Second Interim and Final Application of Whiteford,

             Taylor & Preston, LLP, as Counsel to the Debtor, for Interim and Final Allowance of

             Compensation for Services Rendered and Reimbursement of Expenses Incurred for the

             period from November 1, 2010 through and including June 16, 2011, and for Final

             Allowance of Previously Requested Fees and Expenses (the “Application”), adequate and

             proper notice having been given, any objections having been addressed or resolved, and it

             appearing that the compensation requested is reasonable and a benefit to this estate, it is,

             by the United States Bankruptcy Court for the District of Maryland, hereby
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      ORDERED, that capitalized terms not defined herein shall have the meanings

ascribed to them in the Application; and it is further

      ORDERED, that the request contained within the Application be, and the same is

hereby, approved and allowed in the amount of $150,000 as compensation for services

rendered during the period from November 1, 2010 through June 16, 2011 (the

“Application Period”); and it is further

      ORDERED, that the request contained within the Application be, and the same is

hereby, approved and allowed in the amount of $7,511.84 as reimbursement for expenses

incurred during the Application Period; and it is further

      ORDERED, that the Debtor is hereby authorized and directed to pay to WTP all

requests for compensation and reimbursement of expenses approved and allowed herein.

cc:

John F. Carlton, Esq.
Todd M. Brooks, Esq.
Whiteford Taylor & Preston LLP
Seven Saint Paul Street
Baltimore, Maryland 21202-1636

Office of the United States Trustee
c/o Edmund A. Goldberg, Esquire
101 West Lombard Street
Baltimore, Maryland 21201


                                      END OF ORDER
